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                                     TRANSLATION
  I’m writing you, most courteously, to tell you the following: I’m sorry to bother
  you to ask that you authorize a visit from my wife and bring the girls as well. Her
  detention ends on September 13, 2023, and she will be able to travel anywhere in
  the country. From that date forward she will be on probation. The Prosecutors
  were opposed to her visiting me when I was taken to New York, arguing that she
  could pass threatening messages to the witnesses and that it was [their duty] to
  protect them. This is ridiculous since all conversations during the visits are
  recorded. There are also cameras. Now the Prosecution doesn’t have these
  concerns since Guzman has been sentenced. There aren’t even any hearings. I
  don’t see why my wife shouldn’t be given permission to visit me and to also bring
  the girls. Your Honor, Guzman is asking as a favor that you allow his wife to visit.
  She is the only person who would be able to do so, since his sisters and mother do
  not have travel visas allowing them to go to Colorado to visit Guzman. The
  children are in school in Mexico and can only travel to visit their father during the
  vacation period, 2 times per year [or] 3 times at most.




               Thanking you in advance,




  Translated by Certified Spanish interpreter, Rosa Olivera, on August 25, 2023.
